            Case 22-33553 Document 454 Filed in TXSB on 09/29/23 Page 1 of 9




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

       EIGHTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. FOR
          ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
             CO-COUNSEL TO THE DEBTOR FOR THE PERIOD FROM
                  AUGUST 1, 2023 THROUGH AUGUST 31, 2023

    Name of Applicant:             Crowe & Dunlevy, P.C.
    Applicant’s Role in Case:      Co-Counsel to Debtor
    Date Order of Appointment January 20, 2023 (Dkt #104)
    Signed:
                                       Beginning of Period           End of Period
    Time Period Covered in         08/01/2023                 08/31/2023
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $240,270.001
                                                              (80% of $300,337.50)
    Total Reimbursable Expenses Requested in this Statement: $20,532.342
               Summary Attorney Fees for the Period Covered by this Statement
    Attorneys Fees in this Statement:                         $280,427.50
    Total Actual Attorneys Hours Covered by this Statement: 631.8
    Average Hourly Rate for Attorneys:                        $443.85
            Summary Paraprofessional Fees for the Period Covered by this Statement
    Paraprofessional Fees Requested in this Statement:        $19,910.00
    Total Actual Paraprofessional Hours Covered by this 72.6
    Statement:
    Average Hourly Rate for Paraprofessionals:                $274.24




1
  Counsel is holding $0.00 as a retainer in its IOLTA Account which is included in this fee/expense request.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.

EIGHTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 1
       Case 22-33553 Document 454 Filed in TXSB on 09/29/23 Page 2 of 9




            In accordance with the Order Granting Motion for Entry of an Order
            Establishing Procedures for Interim Compensation and Reimbursement
            of Expenses for Chapter 11 Professionals [Docket No. #106], each party
            receiving notice of the monthly fee statement will have 14 days after
            service of the monthly fee statement to object to the requested fees and
            expenses. Upon the expiration of such 14 day period, the Debtor is
            authorized to pay the Professional an amount of 80% of the fees and
            100% of the expenses requested in the applicable monthly fee
            statement.

       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], Crowe & Dunlevy, P.C. (“C&D”), as co-counsel to the

Debtor, hereby files its Eighth Monthly Fee Statement of Crowe & Dunlevy, P.C. for Allowance of

Compensation for Services Rendered as Co-Counsel to the Debtor for the Period from August 1,

2023 through August 31, 2023 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

C&D seeks interim payment of $240,270.00 (80% of 300,337.50) as compensation for

professional services rendered to the Debtor during the period from August 1, 2023 through August

31, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount

of $20,532.34, for a total amount of $260,802.34 to be paid upon expiration of the objection

deadline barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, C&D submits a Summary of Expenses for

the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category as Counsel


EIGHTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 2
        Case 22-33553 Document 454 Filed in TXSB on 09/29/23 Page 3 of 9




for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Co-Counsel for the

Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),

and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                       Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                       10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                       Brauner and Melanie A. Miller; dzensky@akingump.com,
                       mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.



EIGHTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 3
          Case 22-33553 Document 454 Filed in TXSB on 09/29/23 Page 4 of 9




In light of the nature of the relief requested herein, C&D submits that no further or other notice is

required.

          4.   Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. C&D reserves the right to

make further application to this Court for allowance of such fees and expenses not included herein.

Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code, the

Bankruptcy Rules, and the Interim Compensation Order.

          5.   Therefore, C&D respectfully submits support for its fees in the amount of

$300,337.50 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $20,532.34 for reasonable, actual and necessary expenses incurred

during the Fee Period. C&D further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to C&D the amount of $260,802.34 which

is equal to the sum of 80% of C&D’s fees and 100% of C&D’s expenses incurred during the Fee

Period.




EIGHTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 4
       Case 22-33553 Document 454 Filed in TXSB on 09/29/23 Page 5 of 9




Houston, TX
Dated: September 29, 2023

                                         CROWE & DUNLEVY, P.C.

                                         By: /s/ Christina W. Stephenson
                                         Vickie L. Driver
                                         State Bar No. 24026886
                                         Christina W. Stephenson
                                         State Bar No. 24049535
                                         2525 McKinnon St., Suite 425
                                         Dallas, TX 75201
                                         Telephone: 737.218.6187
                                         Email: dallaseservice@crowedunlevy.com

                                         ATTORNEYS FOR DEBTOR ALEXANDER
                                         E. JONES




EIGHTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 5
        Case 22-33553 Document 454 Filed in TXSB on 09/29/23 Page 6 of 9




                                CERTIFICATE OF SERVICE

I certify that on September 29, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Counsel to the Official Committee of Unsecured Creditors, Akin
                      Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                      10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                      Brauner and Melanie A. Miller; dzensky@akingump.com,
                      mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




EIGHTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 6
      Case 22-33553 Document 454 Filed in TXSB on 09/29/23 Page 7 of 9




                                 EXHIBIT “A”
                 SUMMARY OF EXPENSES FOR THE FEE PERIOD


                             EXPENSE                           TOTAL
Lodging/Travel/Meals                                            3,892.06
Litigation support vendors                                     16,640.28




EIGHTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 7
      Case 22-33553 Document 454 Filed in TXSB on 09/29/23 Page 8 of 9




                                     EXHIBIT “B”
          SUMMARY OF LEGAL FEES AND EXPENSES BY CATEGORY
                        FOR THE FEE PERIOD

CATEGORIES                                ATTORNEY TIME   PARALEGAL TIME

B110 Case Administration                       21.9               0.5
B120 Asset Analysis and Recovery                8.5               0.0
B130 Asset Disposition                          1.8               0.0
B140 Relief from Stay/Adequate
Protection                                         2.0            0.0
B150 Meetings of & Communications with
Creditors                                       0.0              0.0
B160 Fee/Employment Applications               21.2              16.0
B170 Fee/Employment Objections                  1.4               0.0
B180 Avoidance Action Analysis                  0.0               0.0
B185 Assumption/Rejection of Executory
Contracts                                        0.3              1.1
B190 Other Contested Matters                   476.1             55.0
B195 Non-Working Travel                         31.0              0.0
B210 Business Operations                        39.4              0.0
B220 Employee Benefits/Pensions                  0.0              0.0
B230 Financing/Cash Collections                  0.0              0.0
B240 Tax Issues                                 10.1              0.0
B250 Real Estate                                 0.0              0.0
B260 Board of Directors Matters                  0.0             0.0
B310 Claims Administration and
Objections                                      0.0               0.0
B320 Plan and Disclosure Statement             18.1               0.0
B410 General Bankruptcy
Advice/Opinions                                 0.0               0.0
B420 Restructurings                             0.0               0.0
TOTALS:                                        631.8             72.6




EIGHTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 8
     Case 22-33553 Document 454 Filed in TXSB on 09/29/23 Page 9 of 9




                             EXHIBIT “C”

        DETAILED RECORD OF FEES FOR THE FEE PERIOD




EIGHTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 9
